Case 2:17-cr-20274-BAF-DRG ECF No. 376 filed 12/13/18          PageID.3182    Page 1 of 3



                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

          Plaintiff,                            Case No. 17-cr-20274
                                                Judge: Bernard A. Friedman
 v.

 D-6, FATEMA DAHODWALA

          Defendant.


                         STIPULATION TO MODIFY BOND CONDITIONS

         NOW COMES, Fatema Dahodwala, by and through her attorney, Brian M.

Legghio, and the United States Government, through its attorney Sara Woodward,

and said parties do stipulate that the bond conditions for Defendant Fatema

Dahodwala be modified to permit her to drive from the State of Michigan to the State

of Massachusetts and all states necessary to reach Massachusetts on the following

dates:

               Defendant Fatema Dahodwala shall be permitted to leave the
               State of Michigan on Saturday, December 22, 2018 to travel to
               the State of Massachusetts and all states enroute and is required
               to return to the State of Michigan on or before Wednesday,
               January 2, 2019. Upon her return to the State of Michigan,
               Defendant Fatema Dahodwala is required to make contact with
               her Pretrial Services Officer and confirm that she
Case 2:17-cr-20274-BAF-DRG ECF No. 376 filed 12/13/18        PageID.3183      Page 2 of 3



            has returned to the State of Michigan on or before January 2,
            2019.


 All other bond conditions shall otherwise remain in full force and effect.

                                        Respectfully submitted,


 DATED: December 12, 2018               s/ Brian M. Legghio
                                        BRIAN M. LEGGHIO
                                        Attorney for Fatema Dahodwala


 DATED: December 12, 2018               s/Sara Woodward
                                        AUSA SARA WOODWARD
Case 2:17-cr-20274-BAF-DRG ECF No. 376 filed 12/13/18        PageID.3184    Page 3 of 3



                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

       Plaintiff,                              Case No. 17-cr-20274
                                               Judge: Bernard A. Friedman
 v.

 D-6, FATEMA DAHODWALA

       Defendant.

                      ORDER TO MODIFY BOND CONDITIONS

      The bond conditions of Fatema Dahodwala shall be modified to permit the

following:
             Defendant Fatema Dahodwala shall be permitted to leave the
             State of Michigan on Saturday, December 22, 2018 to travel to
             the State of Massachusetts and all states enroute and is required
             to return to the State of Michigan on or before Wednesday,
             January 2, 2019. Upon her return to the State of Michigan,
             Defendant Fatema Dahodwala is required to make contact with
             her Pretrial Services Officer and confirm that she has returned
             to the State of Michigan on or before January 2, 2019.


      All other bond conditions shall remain in full force and effect.


       IT IS SO ORDERED:

                                          s/Bernard A. Friedman__________
 Dated: December 13, 2018                 BERNARD A. FRIEDMAN
 Detroit, Michigan                        SENIOR U.S. DISTRICT JUDGE
